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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 DANIEL REIFF,

         Plaintiff,                            Case No. 23-10513

 v.                                            Honorable Laurie J. Michelson
                                               Magistrate Judge Kimberly G. Altman
 OFFICER BROC SETTY and
 CLINTON TOWNSHIP,

         Defendants.


            ORDER REGARDING DETERMINATION OF MOTION


      Before the Court is Defendants’ Second Amended Motion for Summary

Judgment, filed September 13, 2024. If, upon review of the briefing, the Court finds

that oral argument would aid in resolving the disputed issues, a notice will be filed

on the docket setting a hearing. Otherwise, the Court will decide the motion on the

briefs. See Fed. R. Civ. P. 78(b); E.D. Mich. LR 7.1(f).

      Counsel are advised to review the Case Management Requirements docketed

previously in this case before filing any motion or brief. As a reminder, all briefs must

append       the       Brief   Format       Certification      Form      available       at

http://www.mied.uscourts.gov/pdffiles/MichelsonBriefCertificationForm.docx .   Failure   to

append the Brief Format Certification Form will result in the brief being stricken.

      SO ORDERED.

      Dated: September 23, 2024
                                         s/Laurie J. Michelson
                                         LAURIE J. MICHELSON
                                         UNITED STATES DISTRICT JUDGE
